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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-23420-CIV-ALTONAGA/Reid

 WILLIE G. HARRIS,

        Plaintiff,
 v.

 MR. FUGEO, et al.

       Defendants.
 _____________________/
                                                ORDER

        On August 18, 2020, Plaintiff, Willie G. Harris filed a pro se Complaint Under the Civil

 Rights Act, 42 U.S.C. [Section] 1983 [ECF No. 1].         The case was referred to Magistrate Judge

 Lisette M. Reid for a ruling on all pre-trial, non-dispositive matters and for a report and

 recommendation on dispositive matters under Administrative Order 2019-2.           (See Clerk’s Notice

 [ECF No. 2]).       In her September 4, 2020 Report of Magistrate Judge [ECF No. 4], Judge Reid

 recommends dismissing the Complaint under 28 U.S.C. section 1915(g), as Plaintiff is a “three-

 striker,” and closing the case.   (See Report 1–2).    Section 1915(g) states:

        In no event shall a prisoner bring a civil action . . . under this section if the prisoner
        has, on 3 or more prior occasions, while incarcerated or detained in any facility,
        brought an action or appeal in a court of the United States that was dismissed on
        the grounds that it is frivolous, malicious, or fails to state a claim upon which relief
        may be granted, unless the prisoner is under imminent danger of serious physical
        injury.

 Id. § 1915(g) (alteration added).

        Plaintiff, a prisoner at Dade C.I. in Florida City, Florida, has brought at least three prior

 actions or appeals that meet the section 1915(g) criteria warranting dismissal of a subsequent suit.

 (See Report 3).     He has not filed any objections to the Report within the time allowed or requested

 additional time to do so.       Accordingly, and as Plaintiff has not demonstrated he is “under
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 imminent danger of serious physical injury” under section 1915(g), it is

        ORDERED AND ADJUDGED that the Report [ECF No. 4] is ACCEPTED.                             The

 Complaint [ECF No. 1] is DISMISSED, all other pending motions are DENIED AS MOOT, and

 the Clerk is instructed to mark the case as CLOSED.       Furthermore, the Clerk is directed not to

 accept any future filings from Plaintiff unless Plaintiff either (1) pays the filing fee; (2) affirms

 under oath that he is in imminent threat of serious physical injury; (3) is represented by counsel;

 or (4) obtains leave of court to file.        See Miller v. Donald, 541 F.3d 1091, 1096–97

 (11th Cir. 2008).

        DONE AND ORDERED in Miami, Florida, this 25th day of September, 2020.



                                                         _________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE

 cc:    Willie G. Harris, pro se
        Magistrate Judge Lisette M. Reid




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